






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00061-CV






Robert Threadgill, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-FM-10-006141, HONORABLE RHONDA HURLEY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On March 23, 2012, after the deadline for filing appellant's brief had passed, we
issued an order requiring attorney Sarah Diafi to file the brief.  Diafi contacted the Court to explain
that she was appellant's trial counsel but not his appellate counsel.  The clerk's record reflected that
the termination decree specified that Diafi would continue to act as appellant's counsel, but a later
order on appellant's affidavit of indigence stated that appellant was entitled to appointed counsel on
appeal and that "[c]ounsel shall be appointed from the list of eligible appellate attorneys in Travis
County."  Appellate counsel was never appointed, however.

	We therefore rescind our March 23 order, order Diafi removed as counsel, and
abate&nbsp;the cause to the trial court for appointment of appellate counsel.  The trial court must appoint
appellate counsel within five business days of the date of this order, and counsel should file
appellant's brief within twenty days of his or her appointment.  See Tex. R. App. P. 38.6(a); see also
Tex. R. App. P. 28.4 (effective March 1, 2012, adopted by Tex. Sup. Ct. Misc. Docket No. 12-9030)
(governing accelerated appeals in parental-termination cases); Tex. R. Jud. Admin. 6.2 (effective
May 1, 2012, adopted by Tex. Sup. Ct. Misc. Docket No. 11-9251) (time standards for parental-termination cases).


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Henson and Goodwin

Abated

Filed:   April 3, 2012


